CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 1 of 10
CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 2 of 10
     CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 3 of 10


                                       FILED
                                 t·11l'-H4EAPOLIS. MINN
STATE OF MINNESOTA              2015 OCT -2 AM II: 0 8            DISTRICT COURT

COUNTY OF HENNEPIN                   CITY CLERK      FOURTH JUDICIAL DISTRICT
                                    DEPARTMENT
                                                            Case Type: Civil Rights
Jose Lopez,                                               Court File No. _ _ _ __

              Plaintiff,

V.                                                               COMPLAINT

John Does 1-2,
and City of Minneapolis;

              Defendants.


      For his Complaint against Defendants above-named, Plaintiff states and

alleges as follows:

                                  THE PARTIES

      1.      Plaintiff is an adult male who currently resides and has resided in

Minnesota at all times relevant to this action. Plaintiff is Latino and Mexican-

American.

      2.      Defendants John Does 1-2 are White, non-Latina, adult males who

at all times relevant to the allegations set forth in this Complaint were acting

under the color of state law in their capacities as law enforcement officers

employed by the City of Minneapolis, Minnesota. Plaintiff is suing them in their

individual capacities. At this time, Plaintiff doesn't know the Does' real names.

      3.      Defendant City of Minneapolis ("St. Paul") is a political subdivision

of the State of Minnesota. Minneapolis employed the Does as police officers at

all times relevant to this action. Minneapolis is sued directly and on all

relevant claims, on the theories of respondeat superior or vicarious liability and
    CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 4 of 10




pursuant to Minnesota Statutes § 466.02 for the unlawful conduct of the Does.

Minneapolis is the political subdivision charged with training and supervising

Minneapolis law enforcement officers. Minneapolis has established or

delegated the responsibility for establishing and implementing policies,

practices, procedures and customs used by law enforcement officers employed

by Minneapolis regarding conducting searches and interacting with members of

the community. Minneapolis is therefore also being sued directly pursuant to

Monell v. Dept. of Soc. Sues., 436 U.S. 658 (1978).

                                  JURISDICTION

      4.    This is an action for monetary and declaratory relief under 42

U.S.C. §§ 1983 and 1988 and the Minnesota Human Rights Act, Minn. Stat. §

363A.O 1 et seq. This Court has jurisdiction over this matter pursuant to Minn.

Stat.§ 484.01 et seq. and Minnesota common law. Venue lies properly in

Hennepin County, Minnesota pursuant to Minn. Stat.§ 542.01 et seq., as the

events giving rise to this action occurred in Hennepin County.

                           GENERAL ALLEGATIONS

      5.    In the morning on or around September 4, 2015, Plaintiff was

driving his car in Minneapolis on Interstate 35W North.

      6.    The Does followed Plaintiff in their squad car for about a mile.

      7.    The Does turned on their flashers, and Plaintiff pulled his car over

on the shoulder of the freeway.

      8.    The Does got out of the squad car.




                                        2
     CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 5 of 10




      9.       Doe #1 walked up to Plaintiffs window, and Plaintiff rolled his

window down.

      10.      Doe #1 ordered Plaintiff to provide identification, and Plaintiff

complied with the order.

      11.      Doe # 1 ordered Plaintiff to exit the vehicle, and Plaintiff complied

with the order.

      12.      One of the Does told Plaintiff that he was under arrest.

      13.      One of the Does put Plaintiff in handcuffs, frisk searched Plaintiff,

and did not locate any weapons or contraband.

         14.   One of the Does put Plaintiff in his squad car and locked the door.

         15.   The Does left Plaintiff in the squad car for at least 30 minutes.

         16.   While Plaintiff was in the squad car, the Does searched Plaintiff's

entire vehicle, including the trunk and the entire passenger compartment.

         17.   Plaintiff did not authorize the Does to search the vehicle.

         18.   Plaintiff did not give his consent to the Does to search the vehicle.

         19.   The Does' search left Plaintiffs car in shambles.

      20.      The Does did not locate any weapons or contraband.

      21.      The Does released Plaintiff following their search of his vehicle.

      22.      Plaintiff was cooperative during the entire interaction described

above.

      23.      The Does were rude and undignified during the interaction

described above.




                                           3
    CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 6 of 10




      24.   The Does' conduct caused Plaintiff to experience harm and

damages.

                           COUNT I
DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
  THE FOURTH AND FOURTEENTH AMENDMENTS-UNREASONABLE
                           SEARCH

      25.   Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

      26.   The Does searched Plaintiffs vehicle.

      27.   Plaintiff owns the vehicle.

      28.   The Does lacked authorization to search Plaintiff's vehicle.

      29.   The Does' actions and omissions caused Plaintiff to suffer a

violation of his Fourth Amendment rights, through the Fourteenth Amendment.

      30.   At the time the Does searched Plaintiffs vehicle, it was clearly

established that it is unconstitutional for police officers to conduct

unreasonable searches.

      31.   At the time the Does searched Plaintiffs vehicle, it was clearly

established that it is unreasonable for police officers to search a vehicle under

the type of circumstances under which the Does searched Plaintiffs vehicle. 1

      32.    Plaintiff suffered harm and damages because of the Does' denial of

his constitutional rights.




tArizona v. Gant, 129 S.Ct. 1710, 1714 (2009) (" ... we hold that Belton does not
authorize a vehicle search incident to a recent occupant's arrest after the
arrestee has been secured and cannot access the interior of the vehicle.").
                                          4
     CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 7 of 10




                           COUNT II
DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
  THE FOURTH AND FOURTEENTH AMENDMENTS- UNREASONABLE
                           SEIZURE

      33.    Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

      34.    Defendants proximately caused Plaintiff's arrest.

      35.    Defendants proximately caused Plaintiff's detention.

      36.    Defendants lacked a warrant authorizing them to arrest, stop,

search, or detain Plaintiff.

      37.    Defendants lacked probable cause or reasonable suspicion to

arrest, stop, search, or detain Plaintiff.

      38.    Defendants lacked a reasonable belief of probable cause or

reasonable suspicion to arrest, stop, search, or detain Plaintiff.

      39.    Defendants otherwise lacked authority to arrest, stop, search, or

detain Plaintiff.

      40.    Defendants' actions and omissions caused Plaintiff to suffer a

violation of his Fourth Amendment rights.

      41.    At the time of the events giving rise to this action, it was clearly

established that it is unconstitutional to authorize or execute an arrest, stop,

search, or detention absent probable cause or reasonable suspicion.

       42.   Plaintiff suffered harm and damages because of Defendants' denial

of his constitutional rights.




                                             5
          CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 8 of 10

'.
•

                                   COUNT III
                 VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT

           43.    Plaintiff restates the preceding paragraphs as though fully stated

     herein.

           44.    Defendants subjected Plaintiff to the humiliating ordeal detailed

     above because of his race, color, ethnicity, and national origin.

           45.    In other words, Defendants subjected Plaintiff to unlawful

     discrimination in the area of public services.2

           46.    Plaintiff suffered harm because of Defendants' unlawful conduct.

                                      JURY DEMAND

           47.    Plaintiff demands a jury trial.

                                  REQUEST FOR RELIEF

           WHEREFORE, Plaintiff respectfully requests that the Court:

           1.     Enter judgment in Plaintiff's favor on his claims against

                  Defendants in an amount exceeding $50,000, including attorney

                  fees, the exact amount to be proven at trial;

           2.     Declare that Defendants' conduct, as set forth above, violated

                  Plaintiff's rights under the Constitution and the MHRA;

           3.     Award Plaintiff damages to compensate him for the injuries he

                  suffered as a result of Defendants' unlawful conduct;




     2 City of Minneapolis v. Richardson, 307 Minn. 80, 88-89, 239 N.W.2d 197, 203
     (1976).
                                               6
        CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 9 of 10
',
•


          4.   If Defendants remove this action to federal Court, award Plaintiff

               punitive damages with respect to Plaintiff's claims arising under

               federal law, the exact amount to be proven at trial;

          5.   Grant Plaintiff leave to amend the complaint to include a claim for

               punitive damages, the exact amount to be proven at trial;

          6.   Award Plaintiff reasonable expenses incurred in this litigation,

               including attorney and expert fees, pursuant to 42 U.S.C. § 1988

               and the MHRA;

          7.   Grant Plaintiff all statutory relief to which he is entitled;

          8.   Grant Plaintiff leave to amend this Complaint if the Court finds it

               deficient in any way;

          9.   Grant any other relief the Court deems just and equitable.

                                                    '~~A'(~J jQ; ..
     Dated: September 29, 2015                          ,,, 3

                                                Joshua R. Williams (#389118)
                                                jwilliams@jrwilliamslaw.com
                                                2836 Lyndale AvenueS, Suite 160
                                                Minneapolis, Minnesota 55408
                                                (612) 486-5540
                                                (612) 605-1944 Fax

                                                James R. Mayer (#312241)
                                                jmayer@mayerbrayer .com
                                                Butler Square Suite 445A
                                                100 North Sixth Street
                                                Minneapolis, MN 55403
                                                612.418.9764


                                   ATTORNEYS FOR PLAINTIFF JOSE LOPEZ




                                            7
        CASE 0:15-cv-03913-RHK-JSM Doc. 1-1 Filed 10/22/15 Page 10 of 10


•

           ACKNOWLEDGEMENT REQUIRED BY MINN. STAT. § 549.211

         Plaintiff, through undersigned counsel, acknowledges that sanctions,

    attorneys' fees, and witness fees may be imposed under Minn. Stat. § 549.211.




                                                 "~~A~.(~j JQ; . . ..
    Dated: September 29, 2015                       "''-.,.\

                                              Joshua R. Williams (#389118)
                                              jwilliams@jrwilliamslaw.com
                                              2836 Lyndale Avenue S, Suite 160
                                              Minneapolis, Minnesota 55408
                                              (612) 486-5540
                                              (612) 605-1944 Fax

                                              James R. Mayer (#312241)
                                              jmayer@mayerbrayer. com
                                              Butler Square Suite 445A
                                              100 North Sixth Street
                                              Minneapolis, MN 55403
                                              612.418.9764



                                  ATTORNEYS FOR PLAINTIFF JOSE LOPEZ




                                          8
